Case: 1:17-cv-00475-MWM-SKB Doc #: 58 Filed: 01/03/20 Page: 1 of 6 PAGEID #: 2804
      Case: 1:17-cv-00475-MWM-SKB Doc #: 58 Filed: 01/03/20 Page: 2 of 6 PAGEID #: 2805


1:15‐cv‐00193‐MRB‐MRM       Creech v. Warden, Chillicothe Correctional Institution
1:15‐cv‐00506‐SJD           Kondash v. Kia Motors America, Inc. et al
1:15‐cv‐00645‐SJD‐KLL       Alford v. Mohr et al
1:16‐cv‐00298‐TSB           Hardesty et al v. Kroger Co. et al
1:16‐cv‐01045‐SJD‐SKB       United States of America et al v. Exelan Pharmaceuticals Inc.
1:16‐cv‐01059‐SJD‐KLL       Ramsey v. Receivables Performance Management, LLC
1:16‐cv‐01128‐MRB‐SKB       Allgeyer v. Cincinnati City of et al
1:17‐cv‐00175‐MRB‐SKB       Hearod v. Fifth Third Bank
1:17‐cv‐00235‐SJD           Shelton v. City of Cincinnati, Ohio
1:17‐cv‐00339‐TSB           Turner v. McCullough‐Hyde Memorial Hospital
1:17‐cv‐00364‐SJD‐KLL       United States of America v. Richter et al
1:17‐cv‐00417‐SJD           Farris v. U.S. Financial Life Insurance Company
1:17‐cv‐00421‐SJD‐SKB       United States of America et al v. AvKARE, INC.
1:17‐cv‐00431‐SJD‐KLL       Reising et al v. The Toro Company
1:17‐cv‐00472‐TSB           J&J Sports Productions, Inc. v. Nichols
1:17‐cv‐00475‐SJD‐SKB       Gischel v. University of Cincinnati et al
1:17‐cv‐00492‐MRB           Patrick v. Shawnee State University
1:17‐cv‐00542‐MRB           Hurt v. Norfolk Southern Railway Company
1:17‐cv‐00583‐MRB‐KLL       Brown v. Warden, Chillicothe Correctional Institution
1:17‐cv‐00609‐SJD‐SKB       Copperhead Industrial Inc. et al v. G.E. Schmidt, Inc. et al
1:17‐cv‐00724‐TSB           Britt v. Hamilton County, Ohio et al
1:17‐cv‐00817‐MRB           Strozier v. Warren County, Ohio
1:17‐cv‐00840‐MRB‐SKB       Oatly AB et al v. D's Naturals LLC
1:17‐cv‐00860‐SJD‐SKB       Bauer et al v. GE Aviation Systems LLC et al
1:18‐cv‐00032‐TSB           Lloyd v. The Procter & Gamble Disability Benefit Plan
1:18‐cv‐00033‐TSB           Evans et al v. Colerain RV
1:18‐cv‐00044‐TSB           Gosney v. PNC Bank, National Association
1:18‐cv‐00048‐TSB           Margaret Mary Roudebush Tedder v. Kotar et al
1:18‐cv‐00050‐TSB           Harmon v. DW Tool Inc. et al
1:18‐cv‐00053‐SJD           Jordan et al v. Union Township Board of Trustees et al
1:18‐cv‐00061‐MRB‐SKB       Ridder v. Warden, Chillicothe Correctional Institution
1:18‐cv‐00087‐SJD‐KLL       Khamisi et al v. Deters et al
1:18‐cv‐00091‐SJD‐KLL       Durham v. Niffenegger et al
1:18‐cv‐00106‐SJD‐KLL       Maseru v. University Of Cincinnati
1:18‐cv‐00107‐SJD‐SKB       Gilvin et al v. FCA US LLC et al
1:18‐cv‐00124‐TSB           Gentry v. Department of Education
1:18‐cv‐00144‐SJD‐SKB       Myers v. Wells Fargo Bank, N.A.
1:18‐cv‐00271‐SJD‐SKB       Jones v. Conagra Foods Inc et al
1:18‐cv‐00295‐SJD‐KLL       Cheatham v. Postal Service (U.S)
1:18‐cv‐00318‐MRB‐MRM       Gentry v. Warden, Correctional Reception Center
1:18‐cv‐00335‐MRB‐KLL       Smith v. Warden, Pickaway Correctional Institution
1:18‐cv‐00361‐TSB‐SKB       Haywood v. Fri et al
1:18‐cv‐00377‐SJD‐SKB       Millington v. CSX Transportation, Inc.
1:18‐cv‐00395‐MRB‐SKB       Bowie v. Hamilton County Juvenile Court
1:18‐cv‐00403‐SJD‐SKB       Jones v. Village of Golf Manor et al
1:18‐cv‐00405‐SJD           Aday v. Westfield Insurance Company
1:18‐cv‐00412‐SJD‐KLL       Brown et al v. City Of Cincinnati et al
1:18‐cv‐00453‐MRB           Waypoint Aviation, LLC v. Centimark Corporation
      Case: 1:17-cv-00475-MWM-SKB Doc #: 58 Filed: 01/03/20 Page: 3 of 6 PAGEID #: 2806


1:18‐cv‐00471‐SJD‐SKB       54 Realty, Ltd v. Himes
1:18‐cv‐00486‐SJD‐SKB       Moore v. Coca Cola Bottling Company Consolidated
1:18‐cv‐00502‐MRB           Bates v. Anthem Insurance Companies, Inc.
1:18‐cv‐00552‐SJD‐SKB       Briggs v. University of Cincinnati
1:18‐cv‐00578‐SJD‐SKB       Relo Franchise Services, Inc. v. Gilman et al
1:18‐cv‐00631‐SJD‐SKB       Aaron et al v. AETNA et al
1:18‐cv‐00638‐MRB           Calvary Industries, INC. v. McLaren
1:18‐cv‐00690‐TSB           Wilson v. Rezvannejad et al
1:18‐cv‐00703‐MRB           Clausing v. Norfolk Southern Railway Company
1:18‐cv‐00711‐TSB‐SKB       Harris v. Warden, Dayton Correctional Institution
1:18‐cv‐00716‐TSB           Robertson v. FinPan, Inc.
1:18‐cv‐00739‐TSB           Edmund F. Turek Trust IMA v. PNC BANK, NATIONAL ASSOCIATION
1:18‐cv‐00746‐MRB           Kemp v. J.J.B. Hilliard, W.L. Lyons, LLC
1:18‐cv‐00787‐SJD‐SKB       Cornett et al v. Durrani, MD et al
1:18‐cv‐00788‐SJD‐SKB       Powers v. Durrani, MD et al
1:18‐cv‐00790‐SJD‐SKB       Shahbabian, M.D. v. Trihealth, Inc. et al
1:18‐cv‐00794‐SJD‐KLL       Aerpio Pharmaceuticals, Inc. v. Quaggin et al
1:18‐cv‐00798‐SJD‐SKB       PP1 et al v. Minford Local Schools et al
1:18‐cv‐00806‐TSB           Kelley et al v. Encompass Home and Auto Insurance Company
1:18‐cv‐00809‐SJD‐SKB       Levandofsky v. Durrani et al
1:18‐cv‐00813‐MRB           Hawthorne et al v. DaVita Inc. et al
1:18‐cv‐00820‐TSB‐KLL       Hamm v. Warden, Lebanon Correctional Institute
1:18‐cv‐00824‐TSB           Gregory v. West Clermont Local School District Board Of Education
1:18‐cv‐00829‐SJD‐KLL       Hart v. Jeff Wyler Colerain, Inc. et al
1:18‐cv‐00834‐SJD‐SKB       Foster et al v. Durrani et al
1:18‐cv‐00843‐MRB‐KLL       Cassidy v. Warden, Lebanon Correctional Institution
1:18‐cv‐00846‐SJD           Rosemeyer v. Scripps Media Inc. et al
1:18‐cv‐00871‐TSB           Bush Truck Leasing, Inc. v. Cummins, Inc. et al
1:18‐cv‐00876‐MRB           Gutierrez v. StoneMor Partners, L.P.
                            Eastgate Health and Wellness, LLC et al v. Automatic Data Processing,
1:18‐cv‐00887‐MRB           Inc. et al
1:18‐cv‐00896‐SJD‐KLL       Days v. Norfolk Southern Railway Company
1:19‐cv‐00008‐MRB           MATHEWS v. Children's Hospital Medical Center et al
1:19‐cv‐00016‐SJD‐SKB       Steelman v. Warden, London Correctional Institution
1:19‐cv‐00029‐SJD‐SKB       Kennedy v. Harb
1:19‐cv‐00030‐SJD‐SKB       Fugate v. Erdos et al
1:19‐cv‐00032‐SJD‐KLL       Santiago v. Meyer Tool Incorporated
1:19‐cv‐00044‐MRB‐KLL       Miller v. Quisenberry et al
1:19‐cv‐00051‐TSB‐SKB       Pippin v. Warden, Southern Ohio Correctional Facility
                            Trustees of the Southwest Ohio Regional Council of Carpenters Pension
1:19‐cv‐00057‐TSB           Plan et al v. AIC Contracting, Inc. et al
1:19‐cv‐00060‐SJD‐KLL       Baker v. Carnine et al
1:19‐cv‐00073‐SJD‐KLL       Superior Credit Union, Inc. v. CUMIS Insurance Society Inc
1:19‐cv‐00123‐MRB‐SKB       Hunter v. Eaches et al
1:19‐cv‐00134‐MRB           Heath et al. v. Highlift Equipment, Ltd. et al.
1:19‐cv‐00135‐TSB           Carpenter v. True Solution, INc.
1:19‐cv‐00141‐MRB           Jarrett v. Charter Communications, Inc.
1:19‐cv‐00147‐TSB           Berens v. CSX Transporation, Inc.
      Case: 1:17-cv-00475-MWM-SKB Doc #: 58 Filed: 01/03/20 Page: 4 of 6 PAGEID #: 2807


                            Jamestown Village Condominium Association v. Travelers Casualty
1:19‐cv‐00148‐MRB           Insurance Company of America
1:19‐cv‐00150‐TSB‐SKB       Stiltner v. Donini et al
1:19‐cv‐00162‐SJD‐SKB       Pitts v. Warden London Correctional Insitution
1:19‐cv‐00180‐TSB‐KLL       Stewart v. Commissioner of Social Security
1:19‐cv‐00183‐SJD‐SKB       Vester v. General Electric Company
1:19‐cv‐00200‐TSB‐KLL       Passmore v. The Pentagon
1:19‐cv‐00201‐TSB           The Bidwell Family Corporation et al v. Shape Corp. et al
1:19‐cv‐00217‐TSB‐SKB       Rhodus v. Commissioner of Social Security
1:19‐cv‐00221‐TSB           Leslie v. Cunningham Restaurant Group, LLC
1:19‐cv‐00222‐TSB           Howard v. Southern Ohio Pizza, Inc. et al
1:19‐cv‐00233‐SJD‐KLL       Walker v. Warden Chillicothe Correctional Institution
1:19‐cv‐00235‐MRB           Ganz et al v. Pappas Restaurant, Inc.
1:19‐cv‐00240‐TSB           Healey v. Pharmacists Mutual Insurance Company et al
1:19‐cv‐00247‐SJD‐SKB       Brown v. Walmart, Inc. et al
1:19‐cv‐00248‐TSB           Grubbs v. Smith & Nephew, Inc.
1:19‐cv‐00250‐SJD‐SKB       Norman et al v. Superior Credit Union, Inc. et al
1:19‐cv‐00256‐TSB‐SKB       Ikharo v. Shanks et al
1:19‐cv‐00257‐SJD‐KLL       Vesper et al v. Rolf Goffman Martin Lang LLP et al
1:19‐cv‐00261‐SJD‐KLL       Southern Ohio Medical Center v. Griffith et al
1:19‐cv‐00274‐SJD‐SKB       Howard v. Warden, Pickaway Correctional Institution
1:19‐cv‐00283‐MRB           Gibson v. The Selinksy Force, LLC et al
1:19‐cv‐00290‐SJD‐SKB       Jackson v. Equifax Information Services LLC et al
1:19‐cv‐00292‐SJD‐SKB       Crossty v. Warden, Mansfield Correctional Institution
1:19‐cv‐00293‐MRB           Whitehead v. Orkin, LLC
1:19‐cv‐00298‐MRB‐KLL       Smith v. Warden, London Correctional Institute
1:19‐cv‐00314‐TSB           Turner et al v. Flipdaddy's LLC
1:19‐cv‐00375‐SJD‐KLL       Lloyd v. Warden Chillicothe Correctional Institution
1:19‐cv‐00378‐SJD‐KLL       Truitt v. Kings Daughters Medical Center
                            Trustees of the Southwest Ohio Regional Council of Carpenters Pension
1:19‐cv‐00379‐SJD‐SKB       Plan et al v. Faith Millwright & Rigging, Inc.
1:19‐cv‐00382‐SJD‐SKB       Dawson‐Durgan v. Warden, Warren Correctional Institution
1:19‐cv‐00386‐SJD‐KLL       Dennis et al v. Ohio State Teachers Retirement Board
1:19‐cv‐00389‐SJD‐KLL       Hawkins v. MEK Wellness LLC dba Massage Envy et al
1:19‐cv‐00395‐MRB           Geo‐Tag, LLC v. Guala Closures Spa et al
1:19‐cv‐00398‐SJD‐SKB       Goldblum v. University Of Cincinnati
1:19‐cv‐00413‐SJD‐SKB       Breitenstein v. Deters et al
1:19‐cv‐00424‐TSB           Kaplan v. Jewish Family Service
1:19‐cv‐00425‐SJD‐SKB       Dragustinovis‐Valdez v. Apex Industrial Technologies, LLC
1:19‐cv‐00440‐MRB‐KLL       United States Of America v. Maks Family Pharmacy Inc.
1:19‐cv‐00443‐SJD‐KLL       T.S. et al v. United HealthCare Services, Inc. et al
1:19‐cv‐00446‐TSB‐KLL       Dates v. HSBC Bank USA, N.A. et al
1:19‐cv‐00447‐MRB‐SKB       Johnson v. State of Ohio et al
1:19‐cv‐00460‐SJD‐SKB       Nutt v. Seta et al
1:19‐cv‐00473‐MRB‐KLL       Huber v. Bates et al
1:19‐cv‐00477‐SJD‐SKB       Southern Ohio Medical Center v. Linne et al
1:19‐cv‐00481‐MRB           Trustaff Travel Nurses, LLC v. Trusted, Inc.
1:19‐cv‐00549‐SJD‐SKB       Cropper v. United of Omaha Life Insurance Company
      Case: 1:17-cv-00475-MWM-SKB Doc #: 58 Filed: 01/03/20 Page: 5 of 6 PAGEID #: 2808


1:19‐cv‐00559‐TSB           Shipmon v. Eyemed Vision Care LLC
1:19‐cv‐00569‐TSB           Ameritas Life Insurance Corp. et al v. Federal Insurance Company et al
1:19‐cv‐00574‐TSB‐KLL       Brown v. Total Quality Logistics
1:19‐cv‐00581‐TSB‐SKB       Richard v. Commissioner of Social Security
1:19‐cv‐00586‐TSB           Eidolon Optical, LLC v. Haag‐Streit USA, Inc.
1:19‐cv‐00594‐SJD‐SKB       Sturgill v. Muterspaw et al
1:19‐cv‐00595‐SJD‐SKB       Hutchinson v. City of Fairfield Police Department et al
1:19‐cv‐00601‐MRB           Torok v. Orion Payment Solutions LLC
1:19‐cv‐00602‐SJD‐KLL       Cmehil v. Bluford Jackson & Son, Inc.
1:19‐cv‐00605‐TSB           Sullivan et al v. Biomet Inc et al
1:19‐cv‐00611‐SJD‐SKB       Phillips et al v. Village of New Richmond et al
1:19‐cv‐00613‐TSB           Forman et al v. TriHealth, Inc.
1:19‐cv‐00615‐SJD‐SKB       McCullum v. KDM Signs, Inc.
1:19‐cv‐00616‐SJD‐KLL       Manuel v. University of Cincinnati
1:19‐cv‐00617‐SJD‐KLL       H.H. Franchising Systems, Inc. v. Shrawder‐Miles
1:19‐cv‐00643‐TSB           Blaylock v. TSS Acquisition Company et al
1:19‐cv‐00651‐TSB‐KLL       Witt v. Commissioner of Social Security
1:19‐cv‐00674‐TSB           Brown v. Queen City Supply Company
                            Gibson et al v. Board of Education of the Winton Woods City School
1:19‐cv‐00681‐SJD‐SKB       District
1:19‐cv‐00686‐SJD‐SKB       Johnson et al v. Trinity Couriers, Inc. et al
1:19‐cv‐00692‐TSB           Collins v. Central Railroad of Indiana et al
1:19‐cv‐00695‐SJD‐KLL       Fuhrman v. Worldpay, LLC
1:19‐cv‐00696‐SJD‐SKB       Vesi Incorporated v. Vera Bradley Designs Inc. et al
1:19‐cv‐00701‐SJD‐SKB       Bench Billboard Company v. City Of Cincinnati et al
1:19‐cv‐00705‐TSB‐KLL       Steele v. United States of America et al
1:19‐cv‐00709‐SJD‐KLL       Beason v. JACK Entertainment, LLC
1:19‐cv‐00712‐TSB‐SKB       Jenkins v. Office of Personnel Management
1:19‐cv‐00714‐SJD‐KLL       Watkins v. Account Control Technology, Inc
1:19‐cv‐00715‐SJD‐SKB       Shearer v. Warden, Dayton Correctional Institution
1:19‐cv‐00719‐SJD‐KLL       Amos et al v. NVR INC.
1:19‐cv‐00723‐TSB           Reverman v. Estate Information Services, LLC
1:19‐cv‐00726‐MRB           Bechtel v. Fitness Equipment Services, LLC dba Sole Fitness
1:19‐cv‐00731‐TSB‐KLL       Lin v. United States Attorney General et al
                            United States Of America v. Two Hundred Eighty‐Four Thousand Nine
                            Hundred Forty‐Two and 00/100 Dollars ($284,942.00) in United States
1:19‐cv‐00736‐TSB           Currency
1:19‐cv‐00742‐SJD‐KLL       R&M Price Enterprise v. FedEx Ground Package System, Inc.
1:19‐cv‐00749‐SJD‐KLL       Prewitt v. Equifax Information Services LLC et al
1:19‐cv‐00756‐MRB           Lawson v. Miami Valley Gaming & Racing LLC et al
1:19‐cv‐00791‐TSB           Mooney et al v. Genzyme Corporation
1:19‐cv‐00795‐SJD‐KLL       Raphael v. Warden, Madison Correctional Institution
1:19‐cv‐00800‐TSB           Sanders v. City Of Cincinnati
1:19‐cv‐00801‐SJD‐SKB       Anderson v. Barr et al
1:19‐cv‐00805‐SJD‐KLL       Ellis v. Warden, Marion Correctional Institution
1:19‐cv‐00815‐SJD‐KLL       Ciriaco v. Verizon Wireless et al
1:19‐cv‐00819‐MRB           Wright v. Finley
1:19‐cv‐00820‐SJD‐SKB       IDS Casualty Insurance, Co. v. Kiphart
      Case: 1:17-cv-00475-MWM-SKB Doc #: 58 Filed: 01/03/20 Page: 6 of 6 PAGEID #: 2809


1:19‐cv‐00828‐SJD‐SKB       Rees v. Newcomer Funeral Service Group, Inc.
1:19‐cv‐00836‐MRB           J.W. et al v. Finneytown Local School District Board of Education et al
1:19‐cv‐00841‐SJD‐SKB       O'Banion et al v. Martin Marietta Materials, Inc.
1:19‐cv‐00842‐SJD‐KLL       United States of America v. Johnson et al
1:19‐cv‐00846‐MRB           Unrine v. Life Insurance Company of North America
1:19‐cv‐00849‐SJD‐SKB       Dillingham v. Laboratory Corporation of America Holdings et al
1:19‐cv‐00852‐TSB           Pannek et al v. U.S. Bank National Association
1:19‐cv‐00853‐SJD‐KLL       Hogue v. Marten Transport Limited et al
1:19‐cv‐00856‐SJD‐SKB       Creeden v. The Christ Hospital
1:19‐cv‐00857‐TSB           Fern v. City of Cincinnati
1:19‐cv‐00866‐SJD‐SKB       Frank v. PNC Bank, N.A.
1:19‐cv‐00869‐MRB‐KLL       Lynn v. Warden, Madison Correctional Institution
1:19‐cv‐00872‐TSB‐KLL       Wilson v. CC Holdings Restaurant Group
1:19‐cv‐00883‐MRB           Carter v. Nationwide Recovery Service of TN, Inc.
1:19‐cv‐00885‐SJD‐KLL       WRIGHT v. GENERAL ENGINE PRODUCTS, LLC et al
1:19‐cv‐00888‐TSB           Ndukwe et al v. Walker, Jr. et al
1:19‐cv‐00889‐SJD‐KLL       Clendenin v. United States Of America
1:19‐cv‐00908‐TSB           Dodds v. Family Dollar Stores of Ohio, Inc. et al
1:19‐cv‐00911‐MRB           Pearson v. Funky's Business Ventures, Inc. et al
1:19‐cv‐00912‐TSB‐KLL       Morrissette v. Warden, Lebanon Correctional Institution
1:19‐cv‐00913‐MRB           Cheers v. Rosa et al
1:19‐cv‐00915‐SJD‐KLL       Brock v. Hamilton County Sheriffs et al
1:19‐cv‐00916‐SJD‐KLL       Select Rehabilitation, LLC v. River's Bend Health Care, LLC
1:19‐cv‐00920‐MRB‐SKB       Coverdale v. Conley
1:19‐cv‐00929‐SJD‐KLL       Green v. Warden, London Correctional Institution
1:19‐cv‐00930‐TSB           Plfum v. The Hartford et al
1:19‐cv‐00947‐TSB           Kaur v. Lal et al
                            Armor Contract Manufacturing, Inc. v. East Texas Machining &
1:19‐cv‐00951‐SJD‐SKB       Manufacturing LLC.
1:19‐cv‐00955‐MRB‐SKB       Thurmond v. Ford Motor Company
1:19‐cv‐00959‐SJD‐SKB       Swartz v. Eastern Local Schools Board of Education et al
1:19‐cv‐00963‐SJD‐KLL       Caudill v. The Hartford Life and Accident Insurance Company
1:19‐cv‐00974‐SJD‐SKB       Harris v. Add‐On Computer Peripherals LLC
1:19‐cv‐00979‐MRB           Stanford v. J.B. Hunt Transport, Inc.
1:19‐cv‐00983‐MRB           Solomon v. Sibcy Cline, Inc.
1:19‐cv‐00985‐SJD           Columbus Life Insurance Company v. Samples et al
1:19‐cv‐00989‐MRB‐SKB       Clark v. Best Choice Transporation
1:19‐cv‐00991‐MRB           Quick Feat International Limited v. The J. Peterman Company LLC et al
1:19‐cv‐00996‐SJD‐SKB       Wilson v Hartford Life and Accident Insurance Co
1:19‐cv‐00999‐TSB           Kaylor v Multi‐Color Corportaion
1:19‐cv‐01002‐SJD‐SKB       Kottyan v Costco Wholesale Corp
1:19‐cv‐01010‐TSB           Kaminski v The Hillman Group, Inc
1:19‐cv‐01012‐TSB‐SKB       Allen‐Amos v Ford Motor Co
1:19‐cv‐01019‐SJD‐SKB       Cracchiolo v Kingsbury Trucking
